            Case 1:22-cv-00762-JLT-HBK Document 19 Filed 08/28/23 Page 1 of 3


 1   Richard C. Dalton
     Texas Bar No. 24033539
 2
     Louisiana Bar No. 23017
 3   California Bar No. 268598
     P.O. Box 358
 4   Carencro, Louisiana 70520-0358
     rick@rickdalton.law
 5
     Tel. (337) 371-0375
 6
                          UNITED STATES DISTRICT COURT FOR THE
 7                           EASTERN DISTRICT OF CALIFORNIA
                                    FRESNO DIVISION
 8
 9   CORY A. FOX AND                            §         CIVIL ACTION NO:
     LISA BUTCHER                               §
10                                              §         1:22-cv-00762-ADA-HBK
11   v.                                         §
                                                §
12   HEARTLAND RECREATIONAL                     §
     VEHICLES, LLC AND                          §
13   BEST RV CENTER                             §
14                                              §
                   Defendants                   §         JURY TRIAL REQUESTED
15
                                    NOTICE OF SETTLEMENT
16
17   TO THE HONORABLE UNITED STATES COURT:

18          Plaintiffs, CORY A. FOX AND LISA BUTCHER, and Defendants, HEARTLAND

19   RECREATIONAL VEHICLES, LLC AND BEST RV CENTER , have reached a settlement in
20
     this matter. Plaintiffs and Defendants will submit an agreed motion of dismissal with prejudice
21
     within 60 days.
22
23
24
25
26
27
28                                                  -1-
     Case 1:22-cv-00762-JLT-HBK Document 19 Filed 08/28/23 Page 2 of 3


 1                                RESPECTFULLY SUBMITTED:
 2
                                  BY: /s/ Richard C. Dalton
 3                                Richard C. Dalton
 4                                Texas Bar No. 24033539
                                  Louisiana Bar No. 23017
 5                                California Bar No. 268598
                                  P.O. Box 358
 6                                Carencro, Louisiana 70520-0358
 7                                rick@rickdalton.law
                                  Tel. (337) 371-0375
 8
                                  ATTORNEY FOR PLAINTIFFS
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28                                  -2-
            Case 1:22-cv-00762-JLT-HBK Document 19 Filed 08/28/23 Page 3 of 3


 1                                    CERTIFICATE OF SERVICE
 2
            I do hereby certify that on August 28, 2023, I have served a copy of the foregoing pleading
 3
     on counsel for all parties to this proceeding, by hand, delivery, facsimile transmission, or by mailing
 4
     same by United States mail properly addressed, and first class postage prepaid.
 5
 6
 7              ___________________Richard C. Dalton___________________
                                   RICHARD C. DALTON
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28                                                    -3-
